                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN

 COALITION TO MARCH ON THE RNC,



                                       Plaintiff,

 v.                                                     Civil Action No:

 CITY OF MILWAUKEE, CAVALIER
 JOHNSON in his official capacity as Mayor of
 the City of Milwaukee, and JERREL
 KRUSCHKE in his official capacity as
 Commissioner of Public Works for the City of
 Milwaukee,



                                       Defendants.



                            DECLARATION OF OMAR FLORES

I, Omar Flores, declare:

       1.      I am over the age of eighteen, and I am competent to make this declaration. I

provide this declaration based upon my personal knowledge. If called as a witness, I would and

could competently testify to the facts stated herein, all of which are within my personal

knowledge.

       2.      I am the Co-Chair of the Coalition to March on the Republican National

Convention (the “Coalition”).

       3.      The Coalition is an unincorporated association of individuals from a broad range

of local, national, grassroots, community, and labor organizations who have come together in

order to hold a protest parade during the Republican National Convention (“RNC” or



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“Convention”). As of the date of this complaint, 71 different organizations, expressing a wide

variety of concerns, have joined the Coalition. A true and correct copy of the organizations

associated with the Coalition to date is attached as Exhibit 6.

       4.      The Coalition intends to hold a protest parade at noon on Monday, July 15, 2024,

the first day of the Convention.

       5.      The Coalition intends to have a rally with speakers at a location within sight and

sound of the Convention venue.

       6.      In 2020, groups making up part of the current Coalition demonstrated in

Milwaukee when the City was hosting the Democratic National Convention. They marched on

the streets of Milwaukee under the name “Coalition to March on the DNC” on August 20, 2020.

A true and correct copy of an article reflecting the event dated August 24, 2020 in the Wisconsin

Examiner is attached as Exhibit 13. To my knowledge, this was a peaceful event and resulted in

no arrests or acts of violence.

       7.      On August 23, 2023, the Coalition organized a march outside the first Republican

candidate debate of the 2024 presidential primary season. The debate was held at the Fiserv

Forum in Milwaukee, the same site where the primary convention activities of the RNC will be

held. To my knowledge, hundreds of marchers paraded safely and peacefully next to and in the

area around Fiserv Forum without serious incident during the debate.

       8.      In all of its public statements and planning, the Coalition has made clear that its

demonstration must be able to be seen and heard by persons attending the Convention. True and

correct copies of several of those statements are attached as Exhibit 15. Those attendees, along

with the persons seeing media coverage of the event, are the intended audience for our public




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protest which will be expressed in various ways by the organizations and thousands of marchers

who make up the Coalition.

       9.      On April 12, 2023, the Coalition filed an online application for a parade permit

pursuant to Milwaukee’s general event ordinance to hold a protest parade on the first day of the

RNC. A Coalition member followed up with an email to the City regarding this online

submission. Ex. 17. The Coalition’s initial application was denied by Defendants and

representatives of Defendants asked the Coalition to reapply within six months of the proposed

parade. A true and correct copy of the email exchange between the City officials and the

Coalition reflecting this denial is attached as Exhibit 16.

       10.     In their April 12, 2023 application, the Coalition outlined a proposed parade route

that would take its protest within sight and sound of Fiserv Forum. A true and correct copy of an

image reflecting the parade route proposed by the Coalition is attached as Exhibit 1.

       11.     Despite the initial denial by City officials, the Coalition continued to inform the

City and the public through statement, public events, the press and social media that the

Coalition would be marching on July 15, 2024 at the RNC.

       12.     On September 21, 2023, the Coalition filed a second parade permit application

(the “9/21/2023 Application”), which to my knowledge, Defendants did not respond to.

       13.     On January 18, 2024, the Coalition file a third parade permit application (the

“1/18/2024 Application”), which to my knowledge, Defendants did not respond to. A true and

correct copy of the 1/18/2024 Application is attached as Exhibit 18.

       14.     On April 17, 2024, the Coalition filed a fourth parade permit application (the

“04/17/2024 Application”) using the online portal created by the City of Milwaukee requesting

to hold a parade on the first day of the Convention, Monday, July 15, 2024. A true and correct



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copy of an email dated April 24, 2024 from City officials confirming receipt of the Coalition’s

4/17/2024 Application is attached as Exhibit 7.

         15.   As of today, Defendants have not approved or denied the Coalition’s last three

parade permit applications.

         16.   As of today, the official parade route, and the location of the Official Speaker’s

Platform have not been identified to us by City officials.

         17.   As of today, Defendants have not disclosed the dimensions and location of the

“Credentialed Zone.”

         18.   Because Defendants have not released the Official Parade Route, the Coalition

and its member organizations have no idea where the City will allow them to peacefully march.

         19.   Defendants also failed to inform the Coalition of the timeframe when it can

march.

         20.   The Coalition expects to organize thousands of marchers for this national political

event, many of whom plan to travel across the country to attend. But to date, the Coalition is not

certain whether Defendants will even grant the Coalition’s parade permit application with

sufficient notice to organize a protest parade and accommodate for travel plans.

         21.   Defendants continuing refusal to approve or deny these applications and to

identify the parade route and timeframe leaves our organizers in limbo. As the Convention

rapidly approaches, Defendants’ delay makes it increasingly likely that applicants like the

Coalition that are planning marches or rallies involving as many as thousands of participants will

lack sufficient time to make critical logistical arrangements.

         22.   City representatives have indicated the location of the Official Speaker’s Platform

will likely be Pere Marquette Park, along the Milwaukee River and two blocks southeast of



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Fiserv Forum. A true and correct copy of an online article published in the Milwaukee Journal

Sentinel on May 14, 2024 titled, “Secret Service appears unlikely to move RNC protest zone

despite pressure from Republicans” is attached as Exhibit 19.


       23.     I have personally been to Pere Marquette Park and attest that there is no area in

Pere Marquette Park that is within sight or sound of Fiserv Forum. Likewise, no one standing in

front of the arena in the area known as the “Deer District” can see persons in Pere Marquette

Park. Exhibit 5 Taken from Google Maps and Google Street view accurately represents the view

from the Park towards Fiserv Forum as I have observed it.

       24.     The Coalition’s security team has identified several locations along its proposed

parade route where the Coalition could safely rally and host speakers on July 15, 2024. See

Exhibit 20. These proposed locations would allow the Coalition to exercise their First

Amendment rights peacefully, within sight and sound of the Convention.




       I declare under penalty of perjury that the foregoing is true and correct.


Date: June 5, 2024                                /s/ Omar Flores
                                                  Omar Flores




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